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AO 91 (Rev. 08/09) Criminal Complaint United States Courts

Sauthore-Ditreret-teas
UNITED STATES DISTRICT COURT PIugO

for the DEC 1 92009

Southern District of Texas

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United States of America )
v. )
) Case No. C0 9- HWeam
Arturo Apac ).
Jesus Liscano )
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of December 17, 2009 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

Title 21 U.S.C. section 841(a)(1)(A) Knowingly, Intentionally, and Unlawfully possess with intent to distribute a
controlled substance in Schedule II of the Controlled Substance Act of 1970,
to wit: approximately 23.35 kilograms of cocaine and 11.45 kilograms of
methamphetamine.

This criminal complaint is based on these facts:
See Attachment "A"

@ Continued on the attached sheet.
( “Complafhant ’s signature

S/A David Bishop, Drug Enforcement Administration
Printed name and title

Sworn to before me and signed in my presence.

Date: 12/18/2009

Judge's signature

 

City and state: Corpus Christi, Texas Brian L. Owsley, U.S. Magistrate Judge
Printed name and title .
 

 

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ATTACHMENT “A”

On December 15, 2009, a reliable source of information informed agents of the Drug
Enforcement Administration regarding an airplane transporting narcotics for the Arturo
Apac Drug Trafficking Organization. Utilizing the source of information, agents were
able to obtain a recorded telephone call with Apac. Apac instructed the source of
information to travel to McAllen, Texas as he had “20” for him. Apac further stated that
the source of information would be traveling from McAllen, Texas to Houston, Texas
continuing to Atlanta, Georgia.

On December 16, 2009, the source of information was again contacted by Apac and told
to go to McAllen, Texas as they were ready to go. Apac instructed the source of
information that he needed to meet with him in person as he did not trust talking on the
telephone. At the direction of agents, the source of information informed Apac that he
needed to get the oil changed on the aircraft and would be there on December 17, 2009.
These conversations between the source of information and Apac were recorded by
agents.

On December 17, 2009, TFO John Flores and S/A Jamie Tracy traveled to McAllen,
Texas to establish pre-surveillance at the McAllen International Airport. TFO Robert
Young and S/A Paul Stewart traveled to the Mustang Island Airport to meet with the
source of information. Upon arrival at the Mustang Island Airport, S/A Stewart and
TFO Young met with the source of information prior to him/her departing for McAllen,
Texas. S/A Stewart and TFO Young searched the Cessna 321 bearing tail number
N87397, prior to departure. The source of information was also searched prior to
departure to McAllen, Texas. At approximately 2:40 p.m., the source of information
departed the airport and traveled to McAllen, Texas.

At approximately 3:25 p.m., the source of information arrived at the McAllen
International Airport and contacted TFO John Flores to notify him of his arrival. TFO
Flores contacted agents from Immigration Customs Enforcement in order to establish
surveillance on the source of information as he/she met with Apac at a nearby restaurant.
ICE agents observed Apac, the source of information and Jesus Liscano meet outside the
restaurant prior to returning to the McAllen International Airport.

Upon returning to the McAllen International Airport, TFO Flores was contacted by the
source of information as Apac believed he was being watched. The source of
information was instructed to leave the airport and fly to the Weslaco Airport where he
performed a “touch and go”, then returning to the McAllen airport. TFO Flores observed
that Apac and Liscano were in the aircraft as the plane left and present when the aircraft
returned. The source of information parked the aircraft next to McCreery Aviation where
the source of information, Apac, and Liscano waited. The source of information further
advised agents that they were waiting for the delivery of the cocaine.
 

 

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At approximately 7:00 p.m, agents conducting surveillance observed suitcases being
loaded into the nose and cabin area of the aircraft. At approximately 7:15 p.m., TFO
Flores received a text message that read “stop me, I got it”.

At approximately 7:20 p.m., agents observed Apac, Liscano, and the source of
information enter the aircraft for departure. The source of information then contacted the
tower for departure and began to taxi out to the runway. It was at this time that the
source of information was contacted by McAllen control tower to report to the U.S.
Customs and Border Protection ramp prior to departure.

Upon arrival at the Customs and Border Protection ramp, S/A Phillip Campbell of ICE,
instructed all passengers to exit the aircraft. Based on the facts and circumstances
obtained throughout the course of this investigation, S/A Campbell requested consent to
search the aircraft and all on all luggage on the aircraft. Apac signed a consent to search
form to search the aircraft and granted verbal consent for the luggage. Liscano and the
source of information also granted verbal consent for the search of the luggage belonging
to them. The two remaining bags inside the nose of the aircraft were not claimed by any
of the passengers.

A free air sniff conducted by Javier Soliz Jr utilizing a Hidalgo County K-9 was utilized
at this time. This resulted in the K-9 alerting to the bags. A search of the bags revealed 8
bundles of hard flaky substance believed to be methamphetamine and 20 bundles of a
white powder substance believed to be cocaine.

It was at this time that Apac, Liscano were placed under arrest. Apac was read his
Miranda Warning by TFO John Flores as witnessed S/A Campbell to which Apac
requested an attorney. Liscano was read his Miranda Warning by S/A Tracy as witnessed
by S/A Huling. Liscano agreed to answer questions and was subsequently interviewed by
TFO Flores prior to being taken to Hidalgo County Jail.

The amount of cocaine and methamphetamine infers the intent to distribute. AUSA Julie
Hampton authorized prosecution for Apac and Liscano.
